Case 8:20-cv-00835-JGB-SHK Document 130 Filed 10/15/20 Page 1 of 2 Page ID #:2403




                      UNITED STATES COURT OF APPEALS                       FILED
                             FOR THE NINTH CIRCUIT                          OCT 15 2020
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
  MELISSA AHLMAN; et al.,                         No.    20-55568
                                                         20-55668
                  Plaintiffs-Appellees,
                                                  D.C. No.
    v.                                            8:20-cv-00835-JGB-SHK
                                                  Central District of California,
  DON BARNES, in his official capacity as         Santa Ana
  Sheriff of Orange County, California;
  COUNTY OF ORANGE,                               ORDER

                  Defendants-Appellants.

  Before: W. FLETCHER and BYBEE, Circuit Judges.

         Appellees’ motions to dismiss these appeals as moot (Docket Entry No. 37

  in appeal No. 20-55568, Docket Entry No. 11 in appeal No. 20-55668) are referred

  to the panel assigned to decide the merits of these appeals.

         The motion to extend time to file the opening brief (Docket Entry No. 8 in

  appeal No. 20-55668) is granted.

         The stipulated motion to consolidate these appeals (Docket Entry No. 33 in

  appeal No. 20-55568) is granted. These appeals are consolidated.

         The Clerk shall file the opening briefs at Docket Entry No. 38 in appeal No.

  20-55568 and Docket Entry No. 12 in appeal No. 20-55668, the excerpts of record

  at Docket Entry No. 39 in appeal No. 20-55568 and Docket Entry No. 13 in appeal

  No. 20-55668, the answering briefs at Docket Entry No. 43 in appeal No. 20-55568

  LAB/MOATT
Case 8:20-cv-00835-JGB-SHK Document 130 Filed 10/15/20 Page 2 of 2 Page ID #:2404




  and Docket Entry No. 17 in appeal No. 20-55668, and the supplemental excerpts of

  record at Docket Entry No. 44 in appeal No. 20-55568 and Docket Entry No. 18 in

  appeal No. 20-55668. The optional consolidated reply brief is due 21 days after

  service of the answering brief.




  LAB/MOATT                               2
